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                                                                                     2019 Feb-13 AM 10:43
                                                                                     U.S. DISTRICT COURT
                                                                                         N.D. OF ALABAMA


     IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN
                      DISTRICT OF ALABAMA
                       SOUTHERN DIVISION

JAYME DAVIDSON,                           )
                                          )
       Plaintiff,                         )       Case No.
                                          )
v.                                        )
                                          )
CHSPSC, LLC d/b/a/                        )
GRANDVIEW MEDICAL                         )       JURY DEMAND
CENTER,                                   )       ENDORSED HEREON
                                          )
       Defendant.                         )

                                     COMPLAINT

       Comes now Plaintiff Jayme Davidson (“Davidson” or “Plaintiff”), and states

and pleads the following in support of her complaint against Defendant CHSPSC,

LLC d/b/a Grandview Medical Center (“Grandview” or “Defendant”):

                            JURISDICTION AND VENUE

       1.       This is a suit for violations of the Americans with Disabilities Act

Amendments Act of 2008 (the “ADAAA”) and the Family Medical Leave Act (the

“FMLA”).

       2.       The jurisdiction of this Court is invoked due to the federal questions at

issue under 28 U.S.C. § 1331.

       3.       Venue lies with this Court pursuant to 28 U.S.C. § 1391(b) as the acts

giving rise to the claims alleged herein occurred within this district.


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      4.       At all relevant times, Defendant Grandview has been a covered entity

under Section 101(2) of the Americans with Disabilities Act, 42 U.S.C.A. §

12111(5)(A).

      5.       Davidson filed a charge of discrimination with the Equal Employment

Opportunity Commission (“EEOC”) on or about April 26, 2018 (attached as Exhibit

A). On or about November 12, 2018, the EEOC issued a Notice of Suit Rights

(attached as Exhibit B).

                                      PARTIES

      6.       Davidson is a citizen of the United States over the age of nineteen (19)

and is a resident of Jefferson County in the State of Alabama.

      7.       Davidson was an employee of Grandview and worked at its hospital

located in Birmingham, Alabama.

      8.       Davidson was at all times relevant hereto an “employee” residing in

Alabama.

      9.       Davidson worked in excess of 1250 hours for Defendant in the year

preceding her discharge.

      10.      Defendant Grandview is a Tennessee limited liability company licensed

to do business in the State of Alabama.




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      11.     At the time of Plaintiff’s termination, Grandview employed over 500

employees, at least 50 of which worked within a 75-mile radius of the location where

Plaintiff worked during her employment.

                           FACTUAL ALLEGATIONS

      12.     Davidson began working for Baptist Health System in their Home

Health Department as Home Health Social Worker on August 4, 1997.

      13.     In December 2004, Davidson transferred to Baptist Medical Center

Montclair as Social Worker. She continued working as Social Worker when the

hospital name changed to Trinity Hospital and later Grandview Medical Center.

      14.     In 2007, Grandview promoted Davidson to Lead Social Worker.

      15.     In Davidson’s capacity as Lead Social Worker, she was responsible for

case management, assessments, and discharge planning.

      16.     At Grandview, Davidson typically was responsible for 70 patients at a

given time.

      17.     In Davidson’s twenty years as Social Worker, she always had excellent

performance reviews.

      18.     Davidson’s performance review in 2016 was the best performance

review she had ever received.

      19.     Davidson is partially deaf and has a 35% hearing loss in both ears,

which is a qualified disability under the ADAAA.


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      20.      Davidson’s hearing impairment substantially limited her in multiple

major life activities, including but not limited to, the major life activities of hearing

and communicating.

      21.      Davidson’s hearing impairment also is a serious health condition as

defined by the FMLA.

      22.      Because of her hearing disability, Davidson often had trouble hearing

during in-person meetings and telephone conversations with other staff members,

doctors,     patients,   and   patient-family   members,     which    could    lead   to

misinterpretations on her part and/or the part of others.

      23.      On more than one occasion in 2015 through 2017, Davidson requested

that Grandview accommodate her disability by providing hearing aids and

Grandview refused to provide such an accommodation.

      24.      Davidson told HR manager Jeri Wink and CFO Julie Seakoro that she

had spoken with an attorney about Grandview’s refusal to provide this

accommodation and Jeri Wink told her she could save money by purchasing hearing

aids rather than spend money consulting with an attorney.

      25.      Davidson communicated on several occasions to Wink and her

supervisor Cynthia Watson that she believed that she was being harassed and

subjected to a hostile work environment because of her hearing disability but they




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did not address these issues and they continued to refuse to provide the

accommodation of hearing aids.

      26.    In or around July and August of 2016, Davidson contracted

Clostridioides Difficile Infection (“C-Difficile”) in the workplace.

      27.    Dr. White at Grandview wrote Davidson a prescription for her C-

Difficile symptoms on August 21, 2016.

      28.    The week of August 22, 2016 Davidson specifically notified Watson

that she had C-Difficile symptoms and had been given a prescription for her

symptoms. Davidson continued to work for Grandview.

      29.    In September of 2016, Davidson was hospitalized at Grandview due to

the C-Difficile. Shortly thereafter, a Grandview physician recommended Davidson

take a two-week leave of absence due to the C-Difficile. Davidson, through her

husband, sent the appropriate FMLA paperwork to Grandview.

      30.    While Davidson’s supervisor, Watson, allowed Davidson to take leave,

she at the same time told Davidson that she need to return to work as soon as possible

because the hospital was short-staffed.

      31.    Because Davidson was discouraged from taking an extended leave of

absence, she had over four reoccurrences of C-Difficile and lost over 50 pounds over

a nine-month period.

      32.    Davidson was out of work due to C-Difficile from September 6, 2016


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through September 18, 2016; October 20, 2016 through November 2, 2016;

November 14, 2016 through November 27, 2016; and December 14, 2016 through

January 12, 2017.

         33.   Davidson filled out the appropriate FMLA paperwork for the leave she

had to take due to complications from the C-Difficile.

         34.   During this time, Watson repeatedly encouraged Davidson to look for

another job.

         35.   When Davidson took leave for her fourth reoccurrence of C-Difficile,

Watson warned her that if she got sick again, she would not have a job.

         36.   Davidson’s absences were protected by the FMLA and the ADA.

         37.   Davidson requested worker’s compensation coverage since she had

contracted C-Difficile in the workplace, but her claim was denied.

         38.   Prior to her leave, Davidson had signed up to work some extra shifts.

Upon returning from leave, Watson took away these extra shifts and gave them to

other, non-disabled social workers. When Davidson asked if it was due to the C-

Difficile, she received no response and never again was allowed to work an extra

shift.

         39.   Davidson continues to experience complications from C-Difficile.

         40.   C-Difficile is a qualified disability under the ADAA.




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      41.      Defendant perceived Davidson as suffering from a disability due to her

C-Difficile.

      42.      Defendant had a record of Davidson suffering from a disability due to

her C-Difficile.

      43.      Davidson’s recurrent C-Difficile has substantially limited her in

multiple major life activities, including but not limited to, the major life activities of

thinking, concentrating, sleeping, eating and working.

      44.      Davidson’s recurrent C-Difficile also is a serious health condition as

defined by the FMLA.

      45.      On March 1, 2017, Davidson slipped on a wet floor at work, fell, broke

her ankle, and had major complications due to the failure of the Defendant to provide

immediate medical treatment.

      46.      Davidson had ankle surgery in May 2017 which required a six week

recovery and leave from work. While this leave was covered under worker’s

compensation, Davidson also submitted to Grandview the appropriate FMLA

paperwork for this leave of absence. However, her FMLA request was denied.

      47.      When Davidson returned to work after her ankle surgery, all of her

belongings were packed up and she was moved to the ninth floor of the hospital

which had a known higher volume of patients with C-Difficile.




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      48.    Davidson had repeatedly requested, in accordance with a note and

prohibition from her doctor, that she not be in rooms with patients with possible C-

Difficile due to the fact that additional exposure to this infection at work would likely

cause her further illness. Despite Davidson’s request for this accommodation,

Grandview failed to offer this accommodation and Davidson was assigned to the

ninth floor, which was known to have a higher volume of patients with C-difficile

than other floors of the hospital.

      49.    Davidson’s ankle did not heal properly and it required another surgery

in September 2017.

      50.    Davidson’s ankle impairment substantially limited her in multiple

major life activities, including but not limited to, the major life activities of walking,

sleeping, and working.

      51.    Because of her ankle impairment, Davidson was a qualified individual

with a disability under the ADAAA.

      52.    Defendant perceived Davidson as suffering from a disability due to her

ankle impairment.

      53.    Defendant had a record of Davidson suffering from a disability due to

her ankle impairment.

      54.    Davidson’s ankle impairment also is a serious health condition as

defined by the FMLA.


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      55.    Davidson was told by a Human Resources representative that she had

to return to work on October 24, 2017 or she would lose her job.

      56.    Davidson returned to work on October 24, 2017 and she was terminated

from employment by Grandview five days later, on October 30, 2017.

      57.    On October 27, 2017, three days before Davidson was terminated, Case

Manager Teresa Blocker asked Davidson to look up Blocker’s personal test results

on the hospital electronic medical records. Davidson refused to do so because that

would be a violation of company policy and a terminable offense, as well as a

HIPAA violation. Davidson believed she was being set up to commit such a violation

so that Grandview would have cause to terminate her and a co-worker confirmed

this was true.

      58.    On information and belief, Davidson was replaced by a non-disabled

employee.

      59.    Prior to her requests for accommodation and her leaves of absence,

Davidson had never been disciplined or written up. After her requests for

accommodation and her leaves of absence, Davidson was subjected to greater

scrutiny by her supervisor and co-workers and written up on at least two occasions

and given a warning on one occasion.

      60.    For example, Davidson was written up for not having a “Patient Choice

Form” signed on a patient and treated differently than other, non-disabled social


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workers who made the same and very common error (which Davidson had seen on

past audits of Patient Choice Forms).

        61.   Davidson also was written up because a family allegedly complained

about her services, but she was never written up for any family complaints in the

past.

        62.   When Davidson was terminated on October 30, 2017, she was never

given any reason orally or in writing for being terminated.

        63.   The reasons given by Grandview for Davidson’s discipline and

termination are false and pretextual.

        64.   Furthermore, at no point did Grandview engage in the interactive

process with Davidson about her request for accommodations, including her request

for hearing aids for her hearing disability, her request to not have to work in direct

contact with patients with a high likelihood of C-Difficile, and her requests for leave

for the C-Difficile. Grandview also failed to properly engage in the interactive

process with Davidson regarding her requests for leave for her ankle impairment.

        65.   By terminating her employment, Grandview discriminated against

Davidson and retaliated against her because of disabilities and her protected activity

(requests for accommodation and reports of harassment because of her disability).

        66.   Grandview terminated Davidson in violation of the FMLA and the

ADAAA.


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                       COUNT I. FMLA INTERFERENCE

      67.    Davidson realleges and readopts the allegations of paragraphs 1

through 66 of this Complaint as though fully set forth herein.

      68.    At all times relevant to the facts alleged in this Complaint, Davidson

suffered from one or more serious health conditions pursuant to the FMLA.

      69.    Davidson exercised her FMLA rights and Defendant interfered with her

rights under the FMLA in violation of 29 U.S.C. §§ 2614(a)(1)(A) and 2615(a)(1)

and 2615(a)(2).

      70.    Defendant's actions were willful and done with malice.

      71.    Davidson was injured due to Defendant's violations of the FMLA, to

which Davidson is entitled to legal and injunctive relief.

      WHEREFORE, Davidson demands:

      (a) The court enter a judgment that Defendant interfered with Davidson’s

      rights in violation of the FMLA;

      (b) An injunction restraining continued violation of the FMLA;

      (c) Compensation for lost wages, benefits, and other remuneration;

      (d) Enter a judgment pursuant to 29 U.S.C.A. § 2617(a)(1)(A) against

      Defendant and in favor of Davidson for the monetary losses Davidson

      suffered as a direct result of Defendant's violation of the FMLA;

      (e) Front pay;


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         (f) Liquidated Damages;

         (g) Prejudgment interest on all monetary recovery obtained;

         (h) All costs and attorney's fees incurred in prosecuting these claims;

         (i) Such further relief as the Court deems just and equitable.

                         COUNT II. FMLA RETALIATION

         72.   Davidson realleges and readopts the allegations set forth in Paragraphs

1 through 71 of this Complaint as though fully set forth herein.

         73.   At all times relevant to the facts alleged in this Complaint, Plaintiff

suffered from one or more serious health conditions pursuant to the FMLA.

         74.   Davidson exercised her FMLA rights by requesting and taking FMLA

leave.

         75.   Although Davidson was approved for taking FMLA leave on four

occasions (and denied FMLA leave on one occasion), she was disciplined and

ultimately terminated after she returned from leave.

         76.   Defendant retaliated against Davidson for exercising her FMLA rights.

         77.   Defendant's actions were willful and done with malice.

         78.   Davidson was injured due to Defendant's violations of the FMLA, to

which Davidson is entitled to legal and injunctive relief.

         WHEREFORE, Plaintiff demands:




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             (a) The court enter a judgment that Defendant retaliated against

             Davidson in violation of the FMLA;

             (b) An injunction restraining continued violation of the FMLA;

             (c) Compensation for lost wages, benefits, and other remuneration;

             (d) Enter a judgment pursuant to 29 U.S.C.A. § 2617(a)(1)(A) against

             Defendant and in favor of Davidson for the monetary losses Davidson

             suffered as a direct result of Defendant's violation of the FMLA;

             (e) Front pay;

             (f) Liquidated Damages;

             (g) Prejudgment interest on all monetary recovery obtained;

             (h) All costs and attorney's fees incurred in prosecuting these claims;

             (i) Such further relief as the Court deems just and equitable.

                 COUNT III FAILURE TO ACCOMMODATE

      79.    Davidson realleges and readopts the allegations set forth in Paragraphs

1 through 78 of the Complaint as though fully set forth herein.

      80.    Davidson is a person with disabilities as defined by the ADAAA.

      81.    Defendant was aware of and had notice of Davidson’s disabilities.

      82.    Davidson requested reasonable accommodations and so that she could

perform the essential functions of her job.

      83.    Defendant failed to accommodate Davidson’s requests for hearing aids.


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      84.    Defendant failed to accommodate Davidson’s request, in accordance

with a note and prohibition from her doctor, that she not be in contact with floors

and patients that had a high likelihood of C-difficile. Despite Davidson’s request

for this accommodation, Davidson was assigned to the ninth floor which was known

to have a higher volume of patients with C-difficile than other floors of the hospital.

      85.    Defendant's conduct as described in this Complaint constitutes

discrimination on the basis of disability in violation of Title I of ADA, 42 U.S.C. §

12111, et seq., and its implementing regulation, 29 C.F.R. Part 1630.

      86.    As a result of Defendant's discriminatory conduct, Davidson suffered

and continues to suffer damages.

      87.    As a proximate result of Defendant's unlawful and intentional

discriminatory actions against Davidson, as alleged above, Davidson has been

harmed in that Davidson has suffered emotional pain, humiliation, mental anguish,

loss of enjoyment of life, and emotional distress. As a result of such discrimination

and consequent harm, Davidson has suffered such damages in an amount according

to proof.

      WHEREFORE, Davidson prays for judgment as follows:

             (a)    For backpay, with prejudgment interest;

             (b)    For front pay and/or future lost earnings, for the period from the

             date of judgment to the date of her reinstatement;


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             (c)    For compensatory damages according to proof;

             (d)    For punitive damages in an amount appropriate to punish

             Defendant and deter others from engaging in similar misconduct;

             (e)    For costs of suit, including reasonable attorneys’ fees and

             expert fees; and

For such other and further relief as the court deems proper.

   COUNT IV DISCRIMINATORY DISCIPLINE AND TERMINATION
                ON THE BASIS OF A DISABILITY

      88.    Plaintiff realleges and readopts the allegations set forth in Paragraphs 1

through 87 of this Complaint as though fully set forth herein.

      89.    Defendant intentionally discriminated against Davidson because of

Davidson’s disabilities, by disciplining Davidson and ultimately terminating

Davidson because of her disabilities.

      90.    Defendant perceived Davidson to have disabilities and intentionally

discriminated against Davidson because of Davidson’s perceived disabilities, by

terminating Davidson because of her perceived disabilities.

      91.    Defendant had a record of Davidson having disabilities and

intentionally discriminated against Davidson because of this record of her

disabilities when it terminated her.

      92.    Upon information and belief, Davidson was replaced by a non-disabled

employee.
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      93.      The discriminatory action of Defendant as set forth herein, has caused

and will continue to cause Davidson to suffer losses of earnings, from the date of her

termination until the date on which Davidson is re-hired by Defendant, or finds

substantially equivalent employment.

      94.      As a further proximate result of Defendant's unlawful and intentional

discriminatory actions against Davidson, as alleged above, Davidson has been

harmed in that Davidson has suffered the intangible loss of such employment-related

opportunities and experience in the position from which Davidson was terminated.

As a result of such discrimination and consequent harm, Davidson has suffered such

damages in an amount according to proof.

      95.      As a further proximate result of Defendant's unlawful and intentional

discriminatory actions against Davidson, as alleged above, Davidson has been

harmed in that Davidson has suffered emotional pain, humiliation, mental anguish,

loss of enjoyment of life, and emotional distress. As a result of such discrimination

and consequent harm, Davidson has suffered such damages in an amount according

to proof.

      WHEREFORE, Davidson prays for judgment as follows:

               (a)   For backpay, with prejudgment interest;

               (b)   For front pay and/or future lost earnings, for the period from the

            date of judgment to the date of her reinstatement;


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               (c)   For compensatory damages according to proof;

               (d)   For punitive damages in an amount appropriate to punish

            Defendant and deter others from engaging in similar misconduct;

               (e)   For costs of suit, including reasonable attorneys’ fees and

            expert fees; and

               (f)   For such other and further relief as the court deems proper.

                        COUNT V ADAAA RETALIATION

      96.      Davidson realleges and readopts the allegations set forth in Paragraphs

1 through 95 of this Complaint as though fully set forth herein.

      97.      As detailed in the above Paragraphs, Davidson suffered retaliatory

discipline and termination on the basis of her disability. Davidson engaged in

protected activity by requesting workplace accommodations, including, but not

limited to, her requests for hearing aids, her requests for leave from work, and her

requests to not have to work in direct contact with patients with a high likelihood of

C-Difficile. Davidson engaged in protective activity when she complained to HR of

harassment based on her disability. Shortly after these requests, Davidson was

disciplined and terminated. Any reasons offered by Defendant for the discipline and

termination was pretext for retaliation.

      98.      The discriminatory action of Defendant as set forth herein, has caused

and will continue to cause Davidson to suffer losses of earnings, from the date of her


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termination until the date on which Davidson is re-hired by Defendant, or finds

substantially equivalent employment.

         99.      As a further proximate result of Defendant's unlawful and intentional

retaliatory actions against Davidson, as alleged above, Davidson has been harmed

in that Davidson has suffered the intangible loss of such employment-related

opportunities as experience in the position from which Davidson was terminated. As

a result of such discrimination and consequent harm, Davidson has suffered such

damages in an amount according to proof.

         100. As a further proximate result of Defendant's unlawful and intentional

retaliatory actions against Davidson, as alleged above, Davidson has been harmed

in that Davidson has suffered emotional pain, humiliation, mental anguish, loss of

enjoyment of life, and emotional distress. As a result of such discrimination and

consequent harm, Davidson has suffered such damages in an amount according to

proof.

         WHEREFORE, Davidson prays for judgment as follows:

                  (a)   For backpay, with prejudgment interest;

                  (b)   For front pay and/or future lost earnings, for the period from the

               date of judgment to the date of her reinstatement;

                  (c)   For compensatory damages according to proof;




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            (d)   For punitive damages in an amount appropriate to punish

         Defendant and deter others from engaging in similar misconduct;

            (e)   For costs of suit, including reasonable attorneys’ fees and

         expert fees; and

            (f)   For such other and further relief as the court deems proper.



                                     Respectfully Submitted this 12th day of
                                     February 2019.


                                     /s/ Susan N. Han
                                     One of the Counsel for
                                     Plaintiff Jayme Davidson
OF COUNSEL:
Susan N. Han
NETTLES HAN LAW, LLC
2100 First Avenue North, Suite 600
Birmingham, Alabama 35203
Telephone: (205) 383-2296
E-mail: susan@nettleshanlaw.com

Brandy Lee
LEE LAW FIRM, LLC
403 Ninth Avenue
Jasper, Alabama 35501

2100 First Avenue North
Suite 600
Birmingham, Alabama 35203
Telephone: (205) 328-9445 Ext 405
E-mail: brandy@leelawfirmllc.com



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PLAINTIFF DEMANDS A TRIAL BY STRUCK JURY IN THIS CAUSE.

                                 /s/ Susan N. Han
                                 Of Counsel


PLEASE SERVE THE FOLLOWING DEFENDANT BY CERTIFIED MAIL:
CT Corporation System
Registered Agent for
Grandview Medical Center
300 Montvue Road
Knoxville, TN 37919-5546




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